Case 7:16-cv-06613-AEK Document 127

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
MAURICIO E. ZAVALA ARTIEGA, on behalf of
himself, FLSA Collective Plaintiffs and the Class,

 

Plaintiff,
-against-

GRIFFIN ORGANICS, INC., GRIFFIN'S
LANDSCAPING CORP., HILLTOP NURSERY
AND GARDEN CENTER, INC., and

GLENN GRIFFIN,

Defendants.
X

 

Filed 11/05/20 Page 1of1

ORDER

16 Civ. 6613 (AEK)

THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.!

On August 12, 2020, the parties informed the Court that they had “secured an arbitration

date with Martin Scheinman for October 5, 2020.” ECF No. 126. The Court hereby directs

counsel to provide a further status update by no later than November 12, 2020.

Dated: November 5, 2020
White Plains, New York

SO ORDERED.

(are

 

ANDREW E. KRAUSE
United States Magistrate Judge

 

' This case was reassigned to the undersigned on October 15, 2020.

 
